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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


CAUSE OF ACTION INSTITUTE,

               Plaintiff,

                       v.                               Civ. A. No. 19-0778 (CJN)

UNITED STATES DEPARTMENT OF
COMMERCE,

               Defendant.



                      DEFENDANT’S STATEMENT OF MATERIAL FACTS
                        AS TO WHICH THERE IS NO GENUINE ISSUE

       Pursuant to Local Rule 7(h), Defendant, the United States Department of Commerce

(“DOC”), submits this statement of material facts as to which there is no genuine issie:

       1.    By correspondence dated February 18, 2019, Plaintiff Cause of Action Institute

             (“Plaintiff”) made identical Freedom of Information Act (“FOIA”) requests to DOC

             and the Bureau of Industry and Security (“BIS”), agency within DOC, seeking “a

             copy of the Commerce Secretary’s final report to the President regarding Section

             232 National Security Investigation of Imports of Automobiles, Including Cars,

             SUVs, Vans and Light Trucks, and Automotive Parts.” Declaration of Brian D.

             Lieberman (“Lieberman Decl.”), at ¶ 8. & Ex. 1 and 2.

       2.    The document to which Plaintiff is referring is a report that the Secretary of

             Commerce (“Secretary”) submitted to President Donald J. Trump on February 19,

             2019 pursuant to Section 232 of the Trade Expansion Act of 1962, 19 U.S.C. §

             1862 regarding whether automobile and certain automobile part imports threaten to
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     impair the national security of the United States. On May 17, 2019, the President

     issued an Executive Proclamation summarizing the Secretary’s report, concurring

     with the Secretary’s conclusion that these imports posed a threatened impairment to

     national security and acting upon the Secretary’s recommendation for the United

     States Trade Representative to pursue the negotiation of agreements to address this

     matter and update him on the progress of these negotiations by November 13, 2019,

     180 days after the issuance of the proclamation. Id. at ¶¶ 4-6, 23-33 and Ex. 6-8.

3.   By email dated February 19, 2019, BIS acknowledged receipt of Plaintiff’s FOIA

     request and provided administrative tracking number DOC-BIS-2019-000742. Id.

     at ¶ 9, n. 1 and Ex. 3.

4.   By email dated February 25, 2019, BIS advised Plaintiff that Plaintiff’s request for

     a waiver of the applicable fees was granted. Id. at ¶ 10 and Ex. 4.

5.   By correspondence dated June 13, 2019, DOC advised Plaintiff regarding both the

     request to DOC and BIS that:

     We are currently reviewing, in conjunction with the Executive Office of the
     President, whether the Secretary’s report constitutes a presidential record within the
     meaning of the Presidential Records Act, 44 U.S.C. 2201 et seq., in which case it
     would not be subject to disclosure under FOIA. However, to the extent that the
     Secretary’s Section 232 report to the President of the United States may constitute
     an agency record within the meaning of FOIA, DOC and BIS are withholding it in
     full pursuant to 5 U.S.C. § 552(b)(5), which exempts from disclosure inter-agency
     or intra-agency memorandums or letters which would not be available by law to a
     party other than an agency in litigation with the agency. The report, if an agency
     record, would be exempted from disclosure under FOIA pursuant to the presidential
     communications privilege and/or the deliberative process privilege, until all actions
     deemed necessary to adjust the imports of automobiles and automobile parts so that
     such imports will not threaten to impair the national security have been completed.
     See 15 C.F.R. § 705.11.

     Id. at ¶ 11 and Ex. 5.
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6.   Upon completion of this review, DOC concluded that the entirety of the Secretary’s

     report is subject to the presidential communication privilege and/or deliberative

     process privilege pursuant to FOIA Exemption 5, 5 U.S.C. § 552. Id. at ¶¶ 12, 33-

     43.

                                     Respectfully submitted,
                                     JESSIE K. LIU, D.C. Bar 472845
                                     United States Attorney

                                     DANIEL F. VAN HORN, D.C. Bar 924092
                                     Chief, Civil Division

                                     /s/_______________________________
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